          Case 3:10-cr-04901-JLS                     Document 189                 Filed 11/21/13              PageID.723              Page 1 of 2

    'AO 245B(CASD) (Rev. 12111) Judgment in a Criminal Case
               Sheet I



                                              UNITED STATES DISTRICT Cou~1 'WV 21 PM 3: 3lij
                                                  SOUTHERN DISTRICT OF CALIFORNIA
                    UNITED STATES OF AMERICA                                       JUDGMENT IN ~~RIMINAL CASt.iJ1'{\,
                                        v.                                         (For Offenses Committed On or After November l,~

              JOSE JARLING MINOTA-MOSQUERA (2)                                     Case Number: IOCR4901-JLS
                                                                                    MAXINE I. DOBRO
                                                                                   Defendant's A ttomey
    REGISTRATION NO. 36940298

    D
    THE DEFENDANT:
    181 pleaded guilty to count(s) ONE OF THE INDICTMENT
    D     was found guilty on count(s), _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
    Title & Section                          Nature ofOft'ense                                                                             Number(s)
46 USC 70503                          CONSPIRACY TO POSSESS COCAINE WITH INTENT TO DISTRIBUTE                                              1
                                      ON BOARD A VESSEL




        The defendant is sentenced as provided in pages 2 through                _2_ _ ofthis judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not gUilty on count(s)
 181 Count(s) TWO OF THE INDICTMENT                         ----------------------------------------------
                                                                        is 181 areD dismissed on the motion ofthe United States.
 181 Assessment: $100.00 IMPOSED

 181 Fine waived                                      D Forfeiture pursuant to order filed                                     , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               NOVEMBER 15,2013




                                                                                ON. JANIS L. SAMMARTINO
                                                                              UNITED STATES DISTRICT JUDGE
                                                                                                                                                I OCR490I-JLS
    Case 3:10-cr-04901-JLS                     Document 189         Filed 11/21/13        PageID.724          Page 2 of 2

AO 245B (CASD) (Rev, 12'11) Judgment in a Criminal Case
           Sheet 2 - Imprisonment
                                                                                            Judgment - Page    2     of       2
 DEFENDANT: JOSE JARLING MINOTA-MOSQUERA (2)
 CASE NUMBER: lOCR4901-JLS
                                                           IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
         SIXTY-THREE (63) MONTHS TO RUN CONCURRENT TO SENTENCE IMPOSED IN COLOMBIA.



    o Sentence imposed pursuant Title 8 USC Section 1326(b).
                                         to
    181 The court makes the following recommendations to the Bureau of Prisons:
         INCARCERAnON IN THE SAME FACILITY WITH JOSE YUVIYER MINOTA-MOSQUERA (BROTHER),
         BOOKING NUMBER 32377-298.



    o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Da.m.    Dp.m.       on _ _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before
                   -----------------------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN

 I have executed this judgment as follows:

         Defendant delivered on       _____________________________ to

 at _________________ , with a certified copy of this judgment.


                                                                                          UNITED STATES MARSHAL

                                                                    By
                                                                                       DEPUTY UNITED STATES MARSHAL




                                                                                                                     lOCR4901-JLS
